  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA                  )
                                          )          CRIMINAL ACTION NO.
        v.                                )             2:21cr49-MHT
                                          )                  (WO)
WILLIAM LEE HOLLADAY, III                 )

                         FORFEITURE MONEY JUDGMENT

      This        cause     comes     before          the        court    on    the

government’s        motion     for    a       forfeiture         money    judgment

against      defendant       William          Lee   Holladay,       III    in    the

amount       of    $ 185,770.00.                Defendant         Holladay       has

consented to the entry of a forfeiture money judgment

in this amount.

      Being       fully    advised    of       the    relevant       facts,      the

court hereby finds that defendant William Lee Holladay,

III   obtained       at    least     $ 185,770.00           in    proceeds      from

conspiracy to which he pled guilty.

      Accordingly, it is ORDERED, ADJUDGED, and DECREED

that,    for      good    cause     shown,      the    government’s        motion

(Doc. 332) is granted.
    It is further ORDERED that, pursuant to 18 U.S.C.

§ 982(a)(2) and Rule 32.2(b)(2) of the Federal Rules of

Criminal Procedure, defendant William Lee Holladay, III

shall be held liable for a forfeiture money judgment in

the amount of $ 185,770.00.

    It    is   further    ORDERED        that,     upon   entry    of    this

order, it shall become a final order of forfeiture as

to the defendant.

    The     court   retains      jurisdiction         to       address    any

third-party     claim     that    may         be   asserted       in     these

proceedings, to enter any further order necessary for

the forfeiture and disposition of such property, and to

order    any   substitute    assets       forfeited       to    the    United

States    up   to   the     amount       of    the   forfeiture          money

judgment.

    DONE, this the 11th day of May, 2022.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE




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